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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 DELTA DIVISION



MACK ARTHUR BOWENS,                                                                  PETITIONER

V.                                                                           NO. 2:00CR094-WAP

UNITED STATES OF AMERICA,                                                           RESPONDENT

                                 ORDER DENYING MOTION
       This cause is before the court on Petitioner’s motion for recusal. A district court’s ruling on

a motion for recusal is reviewed by a court of appeals for abuse of discretion. Andrade v. Chojnacki,
338 F.3d 448, 454 (5th Cir. 2003). The standard for recusal is an objective one. See 29 U.S.C. §§

144, 455; Trevino v. Johnson, 168 F.3d 173 (5th Cir. 1999). The relevant inquiry is whether a

“reasonable man, were he to know all the circumstances, would harbor legitimate doubts about the

judge’s impartiality.” U.S. v. Anderson, 160 F.3d 231, 233 (5th Cir. 1998). The alleged bias must

be personal, as distinguished from judicial, in nature. U.S. v. Scroggins, 485 F.3d 824, 830 (5th Cir.

2007). Furthermore, a motion for recusal may not be predicated on the judge’s rulings in the instant

case. Id. at 830.

       Despite Petitioner’s insistence, the undersigned does not find that recusal is warranted.

Therefore, Petitioner’s motion for recusal (docket entry 301) is DENIED.

       SO ORDERED, this the 15th day of August, 2007.
                                                      /s/ W. Allen Pepper, Jr.
                                                      W. ALLEN PEPPER, JR.
                                                      UNITED STATES DISTRICT JUDGE
